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                          DECLARATION OF ROBERT NICHOLS

 I, Robert Nichols, declare as follows:

       1.      I am the General Counsel at the Small Business Association for International

Companies (SBAIC). The statements made in this declaration are based on my personal

knowledge and my understanding of information made available to me pursuant to my duties at

SBAIC.

       2.      SBAIC is a membership organization established to promote the meaningful

utilization of U.S. small businesses at U.S government agencies providing foreign assistance,

such as the U.S. Agency for International Development (USAID), Millenium Challenge

Corporation (MCC), Overseas Private Investment Corporation (OPIC), and the U.S.

Departments of State, Defense, Defense, Health and Human Services and Agriculture.

       3.      SBAIC has almost 170 members, including small businesses certified under

every Small Business Administration category, such as Veteran-Owned (including Service-

Disabled), Women-Owned, HUBZone, Disadvantaged, and 8(a) Businesses.

       4.      Democracy International, Inc., another plaintiff in this case, is a member of

SBAIC.

       5.      As of February 20, 2025, I am not aware of any payments received by SBAIC

members directly from USAID or the State Department since the TRO was issued on February

13.

       6.      I have heard from 29 SBAIC members that they have not received any payments

directly from USAID or State Department since the TRO was issued.

       7.      Many SBAIC members have reported that they have reached out to USAID

officials requesting updates and information on when payments might begin again following the

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TRO. USAID has not provided any of these members with information on when they will be

able to access funds and payments again.

       8.     One SBAIC member reported that, on February 18, 2025, they received a letter

from USAID/Mexico stating the following: “Despite the blanket pause being lifted, I regret to

inform you that our payment systems are still not fully functional. We have not yet processed

past pending payments and have no assurances regarding future invoices and the duration before

payment. I will let you know as soon as I have more information in this regard.”




Executed on February 20, 2025, in Washington, D.C.




                                                                   Robert Nichols
                                                                   General Counsel

                                                                   Small Business Association
                                                                   for International Companies
                                                                   (SBAIC)




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